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               EXHIBIT A
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        Name                    Firm                    Position    Hours   Rate   Total
        Rachael D. Lamkin       Lamkin IP Defense       Partner     72      $500   $36,000
        Karen E. Keller         Shaw Keller LLP         Partner     3.5     $675   $2,363
                                                                    2.6*    $750   $1,950
        Andrew E. Russell       Shaw Keller LLP         Partner     19.8    $650   $12,870
        Mark Rigney             Shaw Keller LLP         Paralegal   3.7     $175   $648
                                                                    1.7*    $225   $383
        Meghan James            Shaw Keller LLP         Paralegal   .2      $175   $35
                                                                    3.1*    $225   $698
        Samantha Covey          Shaw Keller LLP         Paralegal   2.1     $175   $368
                                                                    1.3     $175   $228
                        Total                                                      $55,540.00




*
    These hours were billed at updated billing rates for the year 2020.
